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  SCHEDULE
     A
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                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved February 15, 2019, as Public Law 116-

6, div. A, tit. II, Section 230, 133 Stat. 13, which appropriated the funds that shall be used

for the taking.
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  SCHEDULE
      B
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                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
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  SCHEDULE
     C
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                                      SCHEDULE C

                                 LEGAL DESCRIPTION

                                    Starr County, Texas

Tract: RGV-RGC-6024
Owner: Stephen M. Guillen et al.
Acres: 1.176

Being a 1.176 acre (51,242 square feet) parcel of land, more or less, being out of the Juan
B.Villareal Survey, Abstract No. 183, Porción 75, Ancient Jurisdiction of Camargo,
Mexico, now Starr County, Texas, being out of the remainder of a called 8.84 acre tract
conveyed to Lazaro Rodriguez by Certified Copy of Decree recorded in Volume 52, Page
4, Deed Records of Starr County, Texas (Tract No. 82, Share 15), being the same tract of
land conveyed to Stephen M. Guillen by Affidavit of Heirship recorded in Volume 1024,
Page 333 and Volume 1045, Page 835,Official Records of Starr County, Texas, and being
the same tract of land acquired by Domingo Rodriguez and Elvida Rodriguez through
inheritance from the Estate of Lazaro Rodriguez (no deed of record found), said parcel of
land being more particularly described by metes and bounds as follows;

Commencing at a found 1/2” iron rod at the northeast corner of Tract No. 82, Share 15,
the northeast corner of a called 4.61 acre tract conveyed to Adan Garcia and Idalia Garcia
by Warranty Deed with Vendor’s Lien recorded in Volume 1515, Page 100, Official
Records of Starr County, Texas and the northwest corner of a called 8.67 acre tract
conveyed to the State of Texas by Final Summary Judgement-Cause No. DC-09-426
recorded in Volume 1331, Page 51, Official Records of Starr County, Texas (Tract No. 81,
Share 30), said point being in the south right-of-way line of Leo Road (public), said point
having the coordinates of N=16660546.105, E=861729.810, said point bears N 84°01'04"
E, a distance of 6165.71’ from United States Army Corps of Engineers
Control Point No. SS11-2019;

Thence: S 09°32'34" W (N 09°15'00" E, Record), departing the south right-of-way line of
Leo Road, with the east line of the 4.61 acre tract and the west line of the 8.67 acre tract,
for a distance of 537.35’ to a set 5/8” rebar with an MDS LAND SURVEYING aluminum
disk capped survey marker stamped with the following description: “RGV-RGC-6024-
1=6081-2” for the Point of Beginning and northeast corner of Tract RGV-RGC-6024, said
point being at the northeast corner of the remainder of the 8.84 acre tract and the southeast
corner of the 4.61 acre tract, said point being in the west line of the 8.67 acre tract, said
point having the coordinates of N=16660016.187,E=861640.726;
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                                SCHEDULE C (continued)

Thence: S 80°38'10" W, departing the west line of the 8.67 acre tract, over and across the
remainder of the 8.84 acre tract, for a distance of 379.34’ to a set 5/8” rebar with an MDS
LAND SURVEYING aluminum disk capped survey marker stamped with the following
description:“RGV-RGC-6023-4=6024-3” for the southwest corner of Tract RGV-RGC-
6024, said point being in the west line of the remainder of the 8.84 acre tract and the east
line of a called 13.79 acre tract conveyed to Luz Rodriguez, Victoria Rodriguez, Margarita
Rodriguez, Cleotilde Rodriguez, Leonor Rodriguez, Jose Rodriguez and Maximo
Rodriguez by Certified Copy of Decree recorded in Volume 52, Page 4, Deed Records of
Starr County, Texas (Tract No. 83, Share 19), being the same tract of land conveyed to
Jesus L. Villarreal by Warranty Deed recorded in Volume 225, Page 479, Deed Records of
Starr County, Texas, being the same tract of land conveyed to Jose Manuel Villarreal by
Gift Deed recorded in Volume 970, Page 56, Official Records of Starr County, Texas and
being the same tract of land conveyed to Jose Manuel Villarreal and Armandina B.
Villarreal by Special Warranty Deed recorded in Volume 1498, Page 760, Official Records
of Starr County, Texas (Tract I);

Thence: N 09°41'47" E (S 09°15'00" W, Record), with the west line of the remainder of
the 8.84 acre tract and the east line of the 13.79 acre tract, for a distance of 148.86’ to a
point for the northwest corner of Tract RGV-RGC-6024, said point being at the northwest
corner of the remainder of the 8.84 acre tract and the southwest corner of the 4.61 acre
tract, said point being in the east line of the 13.79 acre tract;

Thence: N 82°19'46" E, departing the east line of the 13.79 acre tract, with the north line
of the remainder of the 8.84 acre tract and the south line of the 4.61 acre tract, for a distance
of 375.29 to the Point of Beginning.
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  SCHEDULE
      D
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                            SCHEDULE D

                             MAP or PLAT

                      LAND TO BE CONDEMNED
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                       SCHEDULE D (continued)

                             MAP or PLAT

                       LAND TO BE CONDEMNED
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                       SCHEDULE D (continued)

                             MAP or PLAT

                       LAND TO BE CONDEMNED
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                       SCHEDULE D (continued)

                             MAP or PLAT

                       LAND TO BE CONDEMNED
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    SCHEDULE
        E
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                                       SCHEDULE E

                                     ESTATE TAKEN

                                     Starr County, Texas

Tract: RGV-RGC-6024
Owner: Stephen M. Guillen et al.
Acres: 1.176

       The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;
        Reserving to the owners of land described in conveyances recorded with Official
Records of Starr County, Texas, volume 52 and page 4, and volume 1045 and page 835,
reasonable access to and from the owners’ lands lying between the Rio Grande River and
the border barrier through opening(s) or gate(s) in the border barrier between the
westernmost mark labeled “Beginning” and easternmost mark labeled Ending” depicted
on the map below;
        Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights
or systems are subordinated to the United States’ construction, operation and
maintenance of the border barrier.
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                             SCHEDULE E

                            ESTATE TAKEN

                           Starr County, Texas
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    SCHEDULE
        F
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                                     SCHEDULE F

                        ESTIMATE OF JUST COMPENSATION



   The sum estimated as just compensation for the land being taken is THREE

THOUSAND, FOUR HUNDRED AND FIFTY-FOUR DOLLARS AND NO/100

($3,454.00), to be deposited herewith in the Registry of the Court for the use and benefit

of the persons entitled thereto.
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     SCHEDULE
        G
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                                     SCHEDULE G

                                INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the property
condemned and whose names are now known, indicating the nature of each person’s
property interest(s) as indicated by references in the public records and any other
information available to the United States. See Fed. R. Civ. P. 71.1(c).

 Interested Party                             Reference
 Stephen M. Guillen                           General Warranty Deed;
                                              Recorded on 19 August 1952;
 McAllen, Texas                               Document No. 1952-36007
                                              Starr County, Texas, Official Deed
                                              Records

                                              General Warranty Deed;
                                              Recorded on 19 August 1952;
                                              Document No. 1952-36008
                                              Starr County, Texas, Official Deed
                                              Records

                                              General Warranty Deed;
                                              Recorded on 25 March 1981;
                                              Document No. 1981-106786
                                              Starr County, Texas, Official Deed
                                              Records

                                              General Warranty Deed;
                                              Recorded on 6 June 1985;
                                              Document No. 1985-127776
                                              Starr County, Texas, Official Deed
                                              Records
 Unknown Heirs of Domingo Rodriguez           Final Decree of Partition
                                              79th District Court of Starr County,
                                              Texas; Cause No. 806
                                              Recorded on 2 September 1925
                                              Vol. 52, Pg. 4
                                              Starr County, Texas, Official Deed
                                              Records
 Estella R. Moreno                            Presumptive heir of Domingo Rodriguez,
                                              relating back to the interest conveyed in
 Edinburg, Texas                              Final Decree of Partition
                                              79th District Court of Starr County, Texas;
                                              Cause No. 806
                                              Recorded on 2 September 1925
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                                    Vol. 52, Pg. 4
                                    Starr County, Texas, Official Deed Records
Elvira R. Garza                     Presumptive heir of Domingo Rodriguez,
                                    relating back to the interest conveyed in
San Antonio, Texas                  Final Decree of Partition
                                    79th District Court of Starr County, Texas;
                                    Cause No. 806
                                    Recorded on 2 September 1925
                                    Vol. 52, Pg. 4
                                    Starr County, Texas, Official Deed Records
Juana R. Briseno                    Presumptive heir of Domingo Rodriguez,
                                    relating back to the interest conveyed in
McAllen, Texas                      Final Decree of Partition
                                    79th District Court of Starr County, Texas;
                                    Cause No. 806
                                    Recorded on 2 September 1925
                                    Vol. 52, Pg. 4
                                    Starr County, Texas, Official Deed Records
Rogelio Rodriguez                   Presumptive heir of Domingo Rodriguez,
                                    relating back to the interest conveyed in
McAllen, Texas                      Final Decree of Partition
                                    79th District Court of Starr County, Texas;
                                    Cause No. 806
                                    Recorded on 2 September 1925
                                    Vol. 52, Pg. 4
                                    Starr County, Texas, Official Deed Records
Juan J. Rodriguez                   Presumptive heir of Domingo Rodriguez,
                                    relating back to the interest conveyed in
Sabastian, Texas                    Final Decree of Partition
                                    79th District Court of Starr County, Texas;
                                    Cause No. 806
                                    Recorded on 2 September 1925
                                    Vol. 52, Pg. 4
                                    Starr County, Texas, Official Deed Records
Unknown Heirs of Elvida (Alvida)    Final Decree of Partition
Rodriguez                           79th District Court of Starr County, Texas;
                                    Cause No. 806
                                    Recorded on 2 September 1925
                                    Vol. 52, Pg. 4
                                    Starr County, Texas, Official Deed Records
Ameida Salinas                      Starr County Assessor-Collector
100 N FM 3167, Rm 201
Rio Grande City, Texas 78582
